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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION

UNITED STATES OF AMERICA                     )       Criminal Action No. 7:12CR00042-5
                                             )
v.                                           )       FINAL ORDER
                                             )
MARCHETTA ANITA JONES,                       )      By: Michael F. Urbanski
    Defendant.                               )      United States District Judge

       In accordance with the accompanying Memorandum Opinion, it is hereby ORDERED

and ADJUDGED that the government’s motion to dismiss (Dkt. No. 444) is GRANTED;

Jones’s motion pursuant to 28 U.S.C. § 2255 (Dkt. No. 433) is DISMISSED; and this action

shall be STRICKEN from the active docket of this court.

       Further, finding that Jones has failed to make a substantial showing of the denial of a

constitutional right as required by 28 U.S.C. § 2253(c), a certificate of appealability is DENIED.

       The Clerk is directed to send copies of this Order and the accompanying Memorandum

Opinion to the parties.

                                             Entered: June 19, 2015
                                             /s/ Michael F. Urbanski
                                             Michael F. Urbanski
                                             United States District Judge
